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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


DONALD FALLS, et al.,

                    Plaintiffs,            Case No. 4:22-cv-166-MW/MJF

               v.

RON DESANTIS, in his official
capacity as Governor of Florida, et al.,

                    Defendants.


      DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
                   MOTION TO DISMISS


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June 1, 2022
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                                 INTRODUCTION

      Article III grants federal courts the power to “decide only matters ‘of a

Judiciary Nature,’ ” not to “issue advisory opinions.” TransUnion LLC v. Ramirez,

141 S. Ct. 2190, 2203 (2021) (quoting 2 Records of the Federal Convention of 1787,

p. 430 (M. Farrand ed. 1966)). Accordingly, a plaintiff can call upon the federal

courts to adjudicate grievances against a state law only if the plaintiff demonstrates

that the law in fact causes some concrete injury, that the injury is actually traceable

to the challenged provisions of the law, and that a judgment striking down the law

would redress that injury. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

It is clear from their complaint and declarations that Plaintiffs in this case have many

objections to Florida’s Individual Freedom Act. But unless they can match those

objections to an injury that meets the strictures of Article III, the solution to their

problems with the Act lies in the political process, not this Court.

      None of Plaintiffs’ claims satisfy Article III. First, none of the three educator

Plaintiffs, Donald Falls, Jill Harper, and Dr. Robert Cassanello, allege in the

Complaint how the curriculum they teach will violate the Act. The declarations

submitted by Falls and Cassanello attempt to make up that shortfall but fail to do so

because they are premised on patent misreadings of the Act. Because no educator

Plaintiff has alleged or averred how their teaching would violate the Act as it is




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actually written, Count I, premised on “teachers’ freedom of expression” should be

dismissed.

      Second, the lone student plaintiff, RMJ, is a rising kindergartener who has

made no allegations and submitted no declaration describing what injury the

challenged Act (or the 2021 Board of Education Rule) could visit upon her or on any

student so young. Accordingly, Count II, premised on students’ First Amendment

right to access information, should also be dismissed.

      Third, the lone plaintiff challenging the Act’s requirements for employers, Dr.

Tammy L. Hodo, has not alleged in the complaint nor supported in her declaration

what injury the Act works to her or her business. The Act does not prohibit her from

offering her diversity and inclusion training sessions, nor does it prohibit employers

from contracting with and paying Dr. Hodo to provide her training to their

employees. Dr. Hodo has neither alleged nor averred that she has or will lose

business if the Act takes effect as it is actually written, so she has not met her burden

to show an injury in fact.

      Fourth, Plaintiffs’ claim that the Act’s educational provisions and the Rule are

unconstitutionally vague, Count IV, must also be dismissed. To have standing to

advance a vagueness claim, a plaintiff must show that the statutory language is at

least arguably vague as applied to him. Plaintiffs here have shown nothing of the

kind. Their claims that the Act even conceivably bars their proposed conduct are all



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based on obvious misreadings of its text, and their claims of vagueness are wholly

conclusory and unpersuasive.

      Plaintiffs’ failings under Article III do not end there. The Governor must be

dismissed as a defendant as to all claims because he has no tangible connection to

the enforcement of any of the challenged provisions. For these reasons, Plaintiffs’

claims should be dismissed—in their entirety or, in the alternative, in part—under

FED. R. CIV. P. 12(b)(1) for lack of subject-matter jurisdiction under Article III.

      But quite apart from whether some or all of Plaintiffs’ claims can survive

12(b)(1) dismissal, those claims must be dismissed on the merits under Rule 12(b)(6)

in any event, for the reasons articulated in our response to Plaintiffs’ Preliminary

Injunction Motion, which is filed contemporaneously herewith.

                           FACTUAL BACKGROUND

I.    Florida’s Elected Officials Enact the Individual Freedom Act.
      Earlier this year, pursuant to its authority to “establish education policy, enact

education laws, and appropriate and allocate education resources,” FLA. STAT.

§ 1000.03(2)(a), the Florida Legislature passed the Individual Freedom Act (“the

Act”). See 2022 Fla. Laws 72. Governor DeSantis approved the Act on April 22, and

it will take effect on July 1. See 2022 Fla. Laws 72, § 8.

      Sections 2 through 7 of the Act amended the Education Code. As relevant

here, Section 2 enumerates actions that constitute “discrimination on the basis of



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race, color, national origin, or sex” against a public school student or employee and

are thus prohibited under Section 1000.05(2). Specifically, the Act prohibits the

practice of “subject[ing] any student or employee to training or instruction that

espouses, promotes, advances, inculcates, or compels such student or employee to

believe any of the following concepts”:

      1.     Members of one race, color, national origin, or sex are morally
             superior to members of another race, color, national origin, or
             sex.

      2.     A person, by virtue of his or her race, color, national origin, or
             sex is inherently racist, sexist, or oppressive, whether
             consciously or unconsciously.

      3.     A person’s moral character or status as either privileged or
             oppressed is necessarily determined by his or her race, color,
             national origin, or sex.

      4.     Members of one race, color, national origin, or sex cannot and
             should not attempt to treat others without respect to race, color,
             national origin, or sex.
      5.     A person, by virtue of his or her race, color, national origin, or
             sex bears responsibility for, or should be discriminated against
             or receive adverse treatment because of, actions committed in the
             past by other members of the same race, color, national origin,
             or sex.
      6.     A person, by virtue of his or her race, color, national origin, or
             sex should be discriminated against or receive adverse treatment
             to achieve diversity, equity, or inclusion.
      7.     A person, by virtue of his or her race, color, sex, or national
             origin, bears responsibility for and must feel guilt, anguish, or
             other forms of psychological distress because of actions, in
             which the person played no part, committed in the past by other
             members of the same race, color, national origin, or sex.


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      8.     Such virtues as merit, excellence, hard work, fairness, neutrality,
             objectivity, and racial colorblindness are racist or sexist, or were
             created by members of a particular race, color, national origin, or
             sex to oppress members of another race, color, national origin, or
             sex.
FLA. STAT. § 1000.05(4)(A)(1)-(8) (as amended by the Act).1 Section 3 of the Act

requires that “instruction and supporting materials on the topics enumerated in this

section must be consistent with” a list of six “principles of individual freedom” that

largely restate the first, second, sixth, seventh, and eighth of these concepts. FLA.

STAT. § 1003.42(3).

      The Act also amends Florida’s Civil Rights Act. Section 1 of the Act

enumerates several employment practices that constitute “discrimination based on

race, color, sex, or national origin” under FLA. STAT. § 760.10(1). Specifically, the

Act makes it unlawful for any employer to “[s]ubject[] any individual, as a condition

of employment, membership, certification, licensing, credentialing, or passing an

examination, to training, instruction, or any other required activity that espouses,

promotes, advances, inculcates, or compels such individual to believe any of” a list

of eight “concepts” that restate, with minor changes in wording, the eight concepts

prohibited by the Act’s educational provisions. FLA. STAT. § 760.10(1)(8). Section

1 again makes clear that it does not prohibit discussion of these concepts as part of



      1
        All subsequent statutory citations are of the provisions as amended by the
Act on July 1.

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required training, stating expressly it “may not be construed to prohibit discussion

of the concepts listed therein as part of a course of training or instruction, provided

such training or instruction is given in an objective manner without endorsement of

the concepts.” Id. § 760.10(1)(8)(b).

      Florida’s law also authorizes the State Board of Education to issue rules

governing the curriculum and instruction in Florida’s schools. Id. § 1003.42(2).

Before the passage of the Act, in June 2021, the Board of Education issued a rule

requiring that instruction on topics such as the Holocaust, slavery, the Civil War, the

Civil Rights Movement, and “the contributions of women, African American and

Hispanic people” to our Nation must “be factual and objective, and may not suppress

or distort significant historical events.” FLA. ADMIN. CODE r. 6A-1.094124. As

“[e]xamples of theories that distort historical events,” the Board listed theories that

“include the denial or minimization of the Holocaust, and the teaching of Critical

Race Theory, meaning the theory that racism is not merely the product of prejudice,

but that racism is embedded in American society and its legal systems in order to

uphold the supremacy of white persons.” Id. In particular, the Board determined that

schools “may not utilize material from the 1619 Project.” Id.




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II.     Plaintiffs Challenge the Act Under the First Amendment and Due Process
        Clause.

        Plaintiffs are three educators, a consultant, and a rising kindergartener.

Together, they argue that the Act and the June 2021 Rule violate their rights under

the First Amendment and the Due Process Clause.

        The three educators are Mr. Donald Falls, who teaches American Government

and Economics at a Florida high school; Ms. Jill Harper, who serves as a substitute

teacher for multiple subjects and grade levels; and Dr. Robert Cassanello, who is an

associate professor of history at the University of Central Florida. Student-plaintiff

RMJ “is enrolling in kindergarten at a Nassau County Public School in August

2022.” Compl. at ¶ 7. Dr. Tammy Hodo is the president and founder of a consulting

firm that provides diversity training to various organizations, including corporations,

non-profits, and educational institutions. Compl. at ¶ 8.

        Defendants now move to dismiss Plaintiffs’ claims, in their entirety or,

alternatively, in part, under FED. R. CIV. P. 12(b)(1) and (6).

                            STANDARD OF REVIEW

        Rule 12 provides that a claim may be dismissed for either “lack of subject

matter jurisdiction” or “failure to state a claim upon which relief can be granted.” Id.

Under Rule 12(b)(1), “[t]he burden for establishing federal subject matter

jurisdiction rests with the party bringing the claim.” Williams v. Poarch Band of

Creek Indians, 839 F.3d 1312, 1314 (11th Cir. 2016). Even at the pleading stage,


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“[m]ere conclusory statements do not suffice.” Muransky v. Godiva Chocolatier,

Inc., 979 F.3d 917, 924-25 (11th Cir. 2020) (internal citations omitted). The plaintiff

“must clearly and specifically set forth facts to satisfy” the injury-in-fact

requirement. Id. (cleaned up). Courts will not “imagine or piece together an injury

sufficient to give [a] plaintiff standing when it has demonstrated none,” nor will

courts “create jurisdiction by embellishing a deficient allegation of injury.”

Miccosukee Tribe of Indians of Fla. v. Fla. State Athletic Comm’n, 226 F.3d 1226,

1229-30 (11th Cir. 2000) (internal citations omitted).

      Under Rule 12(b)(6), a court should dismiss a claim “when the plaintiff’s

factual allegations, if true, don’t allow the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Ziyadat v. Diamondrock Hosp.

Co., 3 F.4th 1291, 1295 (11th Cir. 2021) (cleaned up). The court must “view the

complaint in the light most favorable to the plaintiff and accept all of the plaintiff’s

well-pleaded facts as true,” but it cannot credit “mere conclusory statements,” id. at

1296, and a plaintiff’s allegations must be supported with enough detail to “nudge[ ]

their claims across the line from conceivable to plausible,” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007).

                                    ARGUMENT

      Article III standing is an “irreducible constitutional minimum” requiring that

“the plaintiff must have suffered an ‘injury in fact’ ”: “an invasion of a legally



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protected interest which is (a) concrete and particularized, . . . and (b) actual or

imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at 560 (cleaned up). The

party invoking jurisdiction “bears the burden of establishing these elements.” Id. at

561. In this case, Plaintiffs have failed to meet their burden to allege an injury in fact

with respect to all four of their claims. Moreover, even if some or all of these claims

could go forward, the Governor must be dismissed as a defendant as to all claims

because he has no direct authority to enforce any of the challenged provisions.

       Finally, Plaintiffs’ claims should also be dismissed on the merits under Rule

12(b)(6), for the reasons articulated in our response to Plaintiffs’ Preliminary

Injunction Motion, which is filed contemporaneously herewith.

I.     Count I Should Be Dismissed Because No Educator Plaintiff Alleges an
       Injury In Fact Under the Act as Written.
       None of the three educator Plaintiffs—Falls, Harper, and Cassanello—

adequately alleges an injury in fact because the complaint contains no allegations

whatsoever about how their curriculum preferences would conflict with the Act. And

even those non-party educators who submitted declarations linked their curriculum

preferences only to obvious misreadings of the Act. Count I should be dismissed.2


       2
        Count I must be dismissed against the Board of Governors for the additional
reason that Plaintiffs cannot trace any injury to the Board of Governors nor can any
injury they suffer be redressed by action against that body. See Lujan, 504 U.S. at
560-61 (standing requires that “the injury . . . be fairly traceable to the challenged
action of the defendant” and that it is “likely . . . that the injury will be redressed by


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      Standing to raise a pre-enforcement challenge to a law that restricts speech

requires a showing that the plaintiff’s “intended future conduct is arguably

proscribed by the [challenged] statute.” Susan B. Anthony List v. Driehaus, 573 U.S.

149, 162 (2014) (cleaned up). There also must “exist[] a credible threat of

prosecution thereunder.” Id. at 159 (cleaned up). It is not enough that a plaintiff

merely fears future enforcement: “Allegations of a ‘subjective chill’ are not an

adequate substitute for . . . a threat of specific future harm.” Laird v. Tatum, 408 U.S.

1, 13-14 (1972); see also Babbitt v. United Farm Workers Nat’l Union, 442 U.S.

289, 298 (1979) (“[P]ersons having no fears of state prosecution except those that

are imaginary or speculative, are not to be accepted as appropriate plaintiffs.”). An

actionable fear of future prosecution “will only inure if the plaintiff’s intended

speech arguably falls within the statute’s reach.” California Pro-Life Council, Inc.

v. Getman, 328 F.3d 1088, 1095 (9th Cir. 2003). Where a plaintiff fails to allege an

intention to take a specific future action that would arguably violate the challenged

statute, the plaintiff lacks Article III standing. See, e.g., Christian Action League of

Minnesota v. Freeman, 31 F.4th 1068, 1074 (8th Cir. 2022) (plaintiff lacked standing

where challenged statute’s definition of “harassment” would not cover plaintiff’s



a favorable decision”). The Board of Governors has delegated the authority to make
personnel decisions to Florida’s universities and has no authority to take action
against individual professors based on any violation of the Act. Bd. of Gov. Regs.
9.006.

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proposed speech); Lopez v. Candaele, 630 F.3d 775, 792 (9th Cir. 2010) (Plaintiff

lacked standing where he had “not proposed an interpretation of the [challenged]

policy that would arguably apply to his intended speech and ha[d] not given any

details about what he intends to say.”); Legacy Ent. & Arts Found., Inc. v. Mina,

2021 WL 4444688, at *5 (M.D. Fla., August 20, 2021) (plaintiffs seeking to

peacefully protest lacked standing where “they do not allege any intended conduct

that is ‘arguably proscribed’ by the [challenged]” Act, which “explicitly allow[ed]

for peaceful protests”).

      Here, the educator-plaintiffs make either conclusory allegations (as in the

complaint) or propose future conduct that does not violate the Act or Rule (as in the

Falls and Cassanello declarations), none of which can establish Article III standing.

      Beginning with the complaint, Falls, Harper, and Cassanello make only

conclusory allegations that are insufficient to show an injury in fact. Each simply

describes his or her teaching role and states, without support, that “[t]he legislation

at issue restricts his [or her] ability to accurately and fully teach.” Compl. at ¶¶ 4, 5,

6. Count I then alleges that the Rule “unconstitutionally infringe[s]” these teachers’

First Amendment rights and is “unconstitutional both facially and as applied to

Plaintiffs Falls, Harper, and Cassanello’s curricula.” Id. at ¶ 61. But the complaint

makes no allegations as to any actual lesson in Plaintiffs’ preferred curricula that

would violate the Act. Notably, Count I also does not allege that the Act infringes



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Plaintiffs’ rights, but only the Rule. Id. at ¶¶ 58-61. Still less do Plaintiffs allege that

there is any credible threat that the State would enforce the statute in such

circumstances. These allegations are purely conclusory and do not establish an injury

in fact for standing purposes.

       Plaintiffs’ declarations do not cure this defect. Harper submits no declaration

at all, and since the complaint describes her as merely a substitute teacher, it is

unclear what lessons she could teach that would run afoul of the Act or Rule. Harper

has failed to demonstrate standing for Count I.

       Falls has submitted a declaration, but because it depends on a misreading of

the Act, it fails to establish any injury in fact. Falls avers that he has taught students

about “the economic problem of inequality in the United States and globally,” Decl.

of Donald Falls at ¶ 7, Doc. 30-1 (May 18, 2022) (“Falls Decl.”), “the nation’s

history of slavery,” id. at ¶ 8, and “our nation’s long history of racial segregation and

discrimination,” id. at ¶ 11; and he asserts that each topic may make a student “feel

bad or guilty,” id. at ¶ 7, feel “discomfort, guilt, anguish … [and] psychological

distress on account of his or her race,” id. at ¶ 8, or become “uncomfortable,” id. at

¶ 11. But the Act does not prohibit educators from teaching material that makes

students feel uncomfortable, guilty, distressed, or any other unwelcome emotion. 3


       3
           Indeed, the Act affirmatively requires that the subjects Falls identifies be
taught:


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      This is what the Act actually prohibits teaching:

      A person, by virtue of his or her race, color, sex, or national origin,
      bears personal responsibility for and must feel guilt, anguish, or other
      forms of psychological distress because of actions, in which the person




      Members of the instructional staff of the public schools, subject to the
      rules of the State Board of Education and the district school board, shall
      teach efficiently and faithfully … the following:

      The history of African Americans, including the history of African
      peoples before the political conflicts that led to the development of
      slavery, the passage to America, the enslavement experience, abolition,
      and the history and contributions of Americans of the African diaspora
      to society. Students shall develop an understanding of the ramifications
      of prejudice, racism, and stereotyping on individual freedoms, and
      examine what it means to be a responsible and respectful person, for
      the purpose of encouraging tolerance of diversity in a pluralistic society
      and for nurturing and protecting democratic values and institutions.
      Instruction shall include the roles and contributions of individuals from
      all walks of life and their endeavors to learn and thrive throughout
      history as artists, scientists, educators, businesspeople, influential
      thinkers, members of the faith community, and political and
      governmental leaders and the courageous steps they took to fulfill the
      promise of democracy and unite the nation. Instructional materials shall
      include the vital contributions of African Americans to build and
      strengthen American society and celebrate the inspirational stories of
      African Americans who prospered, even in the most difficult
      circumstances. Instructional personnel may facilitate discussions and
      use curricula to address, in an age-appropriate manner, how the
      individual freedoms of persons have been infringed by slavery, racial
      oppression, racial segregation, and racial discrimination, as well as
      topics relating to the enactment and enforcement of laws resulting in
      racial oppression, racial segregation, and racial discrimination and how
      recognition of these freedoms has overturned these unjust laws.

FLA. STAT. § 1003.42(2)(h).

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      played no part, committed in the past by other members of the same
      race, color, national origin, or sex.

FLA. STAT. § 1000.05(4)(a)(7) (emphasis added). A lesson would not violate the Act

merely because students studying it might feel anguished about historical events;

rather, a lesson would violate the Act only if it teaches a student that (1) because of

his or her race, the student bears (2) personal responsibility for and (3) must feel

guilt, anguish, or other forms of psychological distress (4) because of past injustices

in which the student played no part. Falls does not allege or aver that the lessons he

would plan to teach would violate that standard, nor does he invoke any other part

of the Act that his lessons would violate. Accordingly, Falls’ declaration only avers

an imagined injury caused by a law that does not exist, which is insufficient to show

an injury in fact for standing purposes. See Legacy Ent. & Arts Found., Inc., 2021

WL 4444688, at *5 (plaintiffs seeking to peacefully protest lacked standing because

challenged act permitted peaceful protests).

      Falls also says that “many topics” he discusses in class “could be interpreted

as depicting an America contrary to the principles articulated in the Declaration of

Independence” in violation of the Rule, but that misreads the Rule, too. The Rule

says “[i]nstruction may not utilize material from the 1619 Project and may not define

American history as something other than the creation of a new nation based largely

on universal principles stated in the Declaration of Independence.” FLA. ADMIN.

CODE r. 6A-1.094124 (2021). The 1619 Project expressly aims to create “A New


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Origin Story” for the United States and “reframe the country’s history by placing the

consequences of slavery and the contributions of black Americans at the very center

of our national narrative.” The 1619 Project, N.Y. Times, available at

https://nyti.ms/3lOCKFm. Falls merely says his teaching could portray the United

States as not living up to the ideals of the Declaration of Independence, but the Rule

does not forbid that. The Rule forbids reframing American history as something

other than an effort to achieve the ideals of the Declaration of Independence. Falls

does not claim that his teaching would do that.

      Cassanello’s declaration makes the same mistakes. Cassanello says that

“[p]sychological distress, anguish, or a feeling of personal responsibility to correct

injustices is often a natural response when students learn” about Jim Crow and the

civil rights movement, Decl. of Dr. Robert Cassanello at ¶ 20, Doc. 30-2 (May 18,

2022) (“Casanello Decl.”). But again, the Act does not prohibit lessons that arouse

such feelings in students. The Act prohibits inculcation of a very specific idea: that

students must feel anguish because of their race based on the notion that they

somehow bear personal responsibility for past events in which they played no part.

And Cassanello himself expressly avers that he would do no such thing: “I would

not instruct a student, for example, that they bear personal responsibility for a

lynching committed in the past.” Id. at ¶ 20.




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      Cassanello also says he would teach the “bell curve” in his classes, which he

describes as “a discredited interpretive lens” whose “proponents suggested

connections between race and intelligence that purportedly explained socio-

economic disparities between various races.” Id. at ¶ 9. Cassanello claims that the

Act will “restrict [his] ability to explain the bell curve’s failings to students since it

prohibits [him] from instructing students that ‘such virtues as merit, excellence, hard

work, fairness, neutrality, objectivity, and racial colorblindness are racist or sexist,

or were created by members of a particular race, color, national origin, or sex to

oppress members of another race, color, national origin or sex.” Id. at ¶ 10. Here

again, Cassanello claims he is injured by a law that does not exist. The Act prohibits

teaching that:

      Such virtues as merit, excellence, hard work, fairness, neutrality,
      objectivity, and racial colorblindness are racist or sexist, or were
      created by members of a particular race, color, national origin, or sex
      to oppress members of another race, color, national origin, or sex.

FLA. STAT. § 1000.05(4)(a)(8). In other words, the Act prohibits teaching that (1)

certain enumerated virtues (2) are racist or sexist or (3) were created by one race or

sex to oppress another race or sex. Nowhere does Cassanello say that his bell curve

lesson plans would teach that lesson to students by, for example, instructing that the

virtue of “merit” is either itself racist or was created by white people to oppress black

people. Rather, Casanello says he would teach that “socio-economic disparities are

determined by a wide range of societal factors outside a person’s control [rather]


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than a person’s innate intelligence.” Cassanello Decl. at ¶ 9. The Act plainly does

not prohibit such a lesson, and it is entirely speculative that the State would attempt

to enforce it in such circumstances.

      Cassanello also claims that the Act will prohibit him from assigning a book

entitled The New Jim Crow by Michelle Alexander, which “posits that America’s

justice system perpetuates a racial caste system through government funded

policing, racial profiling and other factors that then disproportionately labels [sic]

black men as criminals and felons and justifies subjecting them to inhuman

treatment.” Id. at ¶ 11. Cassanello says the book’s thesis violates the Act’s

prohibition on teaching that “a person’s moral character or status as either privileged

or oppressed is necessarily determined by his or her race,” id. at ¶ 12, but he does

not explain what specific propositions from the book are contrary to the Act, and it

is unclear whether any are, based solely on Cassanello’s brief description. For

example, simply describing societal conditions that contribute to disparate outcomes

for black men in the criminal justice system would not run afoul of the Act’s

prohibition on teaching that “a person’s moral character or status as either privileged

or oppressed is necessarily determined by his or her race.” FLA. STAT.

§ 1000.05(4)(a)(3) (emphasis added).

      Moreover, even if the book does include ideas contrary to the Act’s

requirements, Cassanello would still be free to include the text in his syllabus, so



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long as he teaches it “in an objective manner without endorsement of the concepts”

that the Act rejects. FLA. STAT. § 1000.05(4)(b). Cassanello teaches at the university

level, and his students can be expected to engage with a text critically.

      While Cassanello disavows the possibility of teaching history in an

“objective” manner, his own declaration elsewhere refutes that claim. For example,

he rightly explains that “holocaust denial” is “an interpretive lens that virtually all

serious academics reject,” but that on many other historical questions “there is no

single interpretation or explanation . . . , but instead there are debates which are based

on scholarly research and discourse,” and that he thus “strive[s] to teach these

subjects fully and accurately to my students” by “giving them the tools to explore

their own interpretations based on research of that history.” Cassanello Decl. at ¶¶

5, 7, 8. That appears to describe precisely the type of objective, evenhanded

instruction that the Act allows.

      For the same reasons, other texts that Cassanello proposes to teach would also

be acceptable under the Act. Cassanello does not provide enough information about

the texts Why Busing Failed: Race, Media, and the National Resistance to School

Desegregation by Matthew Delmont or The Wages of Whiteness by David Roediger

to know whether they contain material that violates any provision of the Act. Id. at

¶¶ 13-18. But even assuming that they do, Cassanello can discuss them objectively

with his students so long as he refrains from endorsing or advocating any of the



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“concepts” prohibited by the Act. This is consistent with his own descriptions of

how he teaches students, by “giving them the tools to explore their own

interpretations based on research of . . . history.” Id. at ¶ 5.

         Because none of the three educator plaintiffs has adequately alleged or averred

an injury in fact, Count I should be entirely dismissed.

   II.      Count II Should Be Dismissed Because the Student Plaintiff Has Not
            Alleged an Injury In Fact.
         Because the only named student Plaintiff, RMJ, has not alleged an injury in

fact resulting from the Act’s enforcement, Count II, “First Amendment – Student

Access to Information,” should also be dismissed in its entirety.

         RMJ is a rising kindergartener who will enroll at Nassau County Public

School in August 2022. The complaint contains no factual allegations linking RMJ

to any injury that could conceivably be caused by the Act’s enforcement. RMJ

merely asserts a right “to receive information regarding sociological, historical, and

civic issues,” and concludes that by “banning instruction on critical race theory,” the

Act and/or Rules “unconstitutionally infringe on Plaintiff RMJ’s First Amendment

rights.” Compl. at ¶¶ 63-66. Those wholly conclusory allegations are inadequate to

establish an injury-in-fact for standing purposes. See Muransky, 979 F.3d at 924-25.

They are also implausible on their face. RMJ is a kindergartener who will spend the

coming school year learning letters and numbers, trying not to sleep during nap time,

and developing basic social skills. No kindergarten curriculum in Florida public


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schools includes controversial “information regarding sociological, historical, and

civic issues” or “instruction on critical race theory,” and that is the only connection

between RMJ and the Act’s enforcement that the complaint alleges. Compl. at ¶¶ 63-

66. Neither RMJ nor her next friend, Plaintiff Stephanie Nicole Jamieson, have

submitted a declaration to supplement the complaint’s conclusory allegations. And

while other students have submitted declarations, none of those student declarations

can establish standing because none of the declarants are named as plaintiffs in this

case.

        Because no named plaintiff is a student with standing to assert Count II’s

“First Amendment – Student Access to Information” claim, that claim should be

entirely dismissed.

   III.    Count III Should Be Dismissed Because No Plaintiff Has Alleged an
           Injury in Fact Related to Employers’ Freedom of Expression.
        Plaintiff Hodo has alleged that the Act violates her and her clients’ First

Amendment rights, but because she has provided no factual allegations to support

that claim, Count III should be dismissed.

        Hodo is the president of All Things Diverse, “a consulting firm who provides

trainings to clients in a wide variety of industries” on topics including “race &

ethnicity, implicit bias training, microaggressions, institutional racism, anti-racism

work, and critical race theory.” Compl. at ¶ 8. In the complaint, Hodo offers only

the barest allegation of how the Act infringes her First Amendment rights: “[t]he


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legislation at issue here restricts her right to speak as an employer as well as has a

direct impact on her business providing training to other employers as a diversity

and inclusion consultant.” Id. That conclusory allegation is insufficient to establish

an injury in fact. Hodo does not allege that she mandates training of her employees

that would violate the Act, nor that she will lose any concrete and identifiable amount

of business from her clients if the Act goes into effect. And she does not allege that

the State has credibly threatened to enforce the statute against her.

      Hodo has submitted a declaration that attempts to add factual allegations to

the conclusory statements of the complaint, Decl. of Dr. Tammy Hodo, Doc. 30-4

(May 18, 2022) (“Hodo Decl.”), but her declaration gets her no closer to establishing

an injury in fact. Again, Hodo’s statements are premised on an obvious misreading

of what the Act prohibits. She states that she offers a “60-minute course on

institutional racism” that “would put both my company and my clients at risk of civil

liability” if she “continued to teach this course as currently taught.” Id. at ¶¶ 5-6. But

nothing in the Act restricts Hodo from teaching—or her clients from offering—any

course, regardless of what or how it teaches. The Act only makes it an “[u]nlawful

employment practice” to subject any individual “as a condition of employment … to

training, instruction, or any other required activity that espouses” one of eight

enumerated prohibited concepts. FLA. STAT. § 760.10(8). In other words, Hodo could

devise a course that espouses all eight of the enumerated concepts, and the Act would



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still leave her and her clients free to offer that course so long as employee attendance

was not a condition of employment or a required activity.

      Hodo’s standing thus depends on the assumption that some appreciable

number of prospective customers who would retain her consulting services if they

could mandate employee attendance will decline to hire her if their employees’

attendance is entirely voluntary. And where a plaintiff’s standing “depends upon the

decision of an independent third party”—here, the decision of Hodo’s prospective

clients not to hire her, in light of the Act—it is “substantially more difficult to

establish.” California v. Texas, 141 S.Ct. 2104, 2117 (2021) (quotation marks

omitted). Hodo does not come close. Indeed, she provides no allegations or evidence

whatsoever to support her speculative theory that fewer employers will hire her after

the Act takes effect, and the theory is far from obvious. To the contrary, it seems

likely that Florida employers who are currently interested enough in Hodo’s services

to hire her will continue to do so even if they cannot compel their employees to

attend. Cf. Bochese v. Town of Ponce Inlet, 405 F.3d 964, 985 (11th Cir. 2005) (“We

simply cannot conclude that the loss of a hypothetical and uncertain prospect of

earning a sum of money amounts to an ‘actual’ or ‘imminent’ injury.”).

      Hodo compares the Act to President Trump’s executive order banning

diversity, equity, and inclusion training for federal employees, which she says

“halted” her business’s ongoing training course contract with the Department of



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Veterans Affairs Hospital in Dublin, Georgia. Hodo Decl. at ¶ 14. Here, however,

the Act works no ban at all—it simply protects employees from being required to

attend such trainings and/or from being adversely affected in their employment if

they refuse to do so. The contrast between the federal ban and the provisions here

thus cements Hodo’s lack of standing in this case.

      Because Hodo fundamentally misunderstands the Act’s scope, she has failed

to nudge her conclusory allegations of injury “across the line from conceivable to

plausible.” Twombly, 550 U.S. at 570. Count III should be entirely dismissed.

   IV.   Count IV Should Be Dismissed Because No Student or Educator
         Plaintiff Has Plausibly Alleged How the Rule or Act Is Vague.

      Plaintiffs claim that the Rule and Act are unconstitutionally vague, but such a

claim cannot be implicated here because Plaintiffs have no liberty interest at stake

that could trigger the protections of the federal Due Process Clause. See United

States v. Williams, 553 U.S. 285, 304 (2008) (“Vagueness doctrine is an outgrowth

not of the First Amendment, but of the Due Process Clause of the Fifth

Amendment.”). In-class instruction offered by state-employed educators is pure

government speech, not the speech of the educators themselves. And “[r]estricting

speech that owes its existence to a public employee’s professional responsibilities

does not infringe any liberties the employee might have enjoyed as a private citizen.”

Garcetti v. Ceballos, 547 U.S. 410, 421-22 (2006).




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      Even if Count IV could implicate Plaintiffs’ due process rights (and it cannot),

Count IV should be dismissed for the additional reason that none of the Plaintiffs

have plausibly alleged any vagueness in the Rule or the educational provisions of

the Act that is sufficient to cause them a concrete injury in fact.

      To establish standing to litigate a vagueness claim, a plaintiff must allege

more than “mere fear of unconstitutional action alone” by the defendant. Club

Madonna, Inc. v. City of Miami Beach, 924 F.3d 1370, 1382 (11th Cir. 2019). Such

a fear “is too speculative an injury to confer standing.” Id. For example, in Harrell

v. The Florida Bar, 608 F.3d 1241 (11th Cir. 2010), the Eleventh Circuit held that a

lawyer had properly alleged a plausible injury-in-fact as to five allegedly

unconstitutionally vague rules governing lawyers’ advertisements, but had failed to

allege an injury-in-fact as to four other allegedly vague rules. To have standing to

mount a vagueness challenge, the Court concluded, the lawyer would have to show

each of the following things: “(1) he seriously wishes to advertise his services, (2)

such advertising would arguably be affected by the rules, but the rules are at least

arguably vague as they apply to him, and (3) there is at least a minimal probability

that the rules will be enforced, if they are violated.” Id. at 1254 (emphasis in original)

(cleaned up). Plaintiffs have failed to satisfy these conditions here, for none of them

actually alleges any way in which the Act or Rule are arguably vague as applied to

their proposed conduct. See also U.S. v. A Single Fam. Residence and Real Prop.



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Located at 900 Rio Vista Blvd., Fort Lauderdale, 803 F.2d 625, 630 (11th Cir. 1986)

(plaintiff “must establish that [the statute] was vague as applied to it in order to have

standing to make a facial challenge to the statute”).

      To begin, the complaint makes only conclusory vagueness allegations, stating

simply that “[r]easonable minds could differ” about whether “a given theory ‘distorts

historical events,’ ” Compl. at ¶ 74, and that the Act’s “six ‘principles of individual

freedom’ ” are “vague[ ] and nebulous,” id. at ¶ 75—“so vague,” in fact, “that they

fail to put a reasonable person on notice of what is prohibited and would cause people

of common intelligence to guess at its meaning and differ as to its application,” id.

at ¶ 76. These assertions are merely legal conclusions shorn of any factual allegations

showing that any plaintiff intends to engage in curricular speech that the Act or Rule

would “at least arguably” circumscribe. Harrell, 608 F.3d at 1254.

      The Plaintiffs’ declarations do not help their vagueness claims. As shown,

Plaintiffs misread the Act and Rule in fundamental ways, which leads them to claim

that the Act or Rule will circumscribe curricular speech that it clearly will not.

Plaintiffs also offer conclusory allegations of vagueness without showing how the

Act or Rule is “at least arguably vague” as to any lessons or training sessions the

Plaintiffs would give.

      For example, Falls says that “many topics I discuss . . . could be interpreted

as depicting an America contrary to the principles articulated in the Declaration of



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Independence,” and so he “ha[s] no idea if [his] instruction is presenting a theory

that the legislature or state board of education considers to ‘suppress or distort

historical events.’ ” Falls Decl. at ¶ 15. But the Rule prohibits “defin[ing] American

history as something other than the creation of a new nation based largely on

universal principles stated in the Declaration of Independence,” and Falls has alleged

no proposed teaching activity that might even arguably run afoul of that provision.

FLA. ADMIN. CODE r. 6A-1.094124 (2021).

      The Rule also defines lessons that “suppress or distort significant historical

events” as those that distort the history of slavery and the civil rights movement by

“teaching … Critical Race Theory, meaning the theory that racism is not merely the

product of prejudice, but that racism is embedded in American society and its legal

systems in order to uphold the supremacy of white people.” Id. (emphasis added).

That provision is not vague on its face, and Falls has certainly not alleged that his

preferred curriculum even plausibly falls within its ambit. For similar reasons, the

contention of Plaintiffs’ expert, Prof. Black, that Critical Race Theory “has no

inherent meaning or scope,” Declaration of Prof. Derek W. Black at ¶ 13, Doc. 30-

3 (May 18, 2022) (“Black Decl.”), is completely irrelevant, in light of the Rule’s

own express definition of the term. Black disagrees with the Rule’s definition of

Critical Race Theory in various respects, id. at ¶¶ 19–26, but he nowhere shows that

the definition is unconstitutionally vague.



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      Cassanello’s declaration suffers from the same problems. Throughout his

declaration, Cassanello argues that what he wants to teach “could be violating the

law” because it “could be construed” to violate various provisions. See Cassanello

Decl. ¶¶ 12, 18. Yet he fails throughout to articulate a single lesson he would teach

that would even arguably run afoul of any provision of the Act or Rule. See supra,

15-19.

      Cassanello further complains that the Act “put[s] the power in individual

students to interpret the law and determine if a lesson implicates one of the forbidden

viewpoints,” id. at ¶ 19, and that he has “no control over how students will interpret

a particular lesson,” id. at ¶ 20; see also id. at 21 (claiming the Act “permits students

to interpret the law’s vague principles as they wish and bring legal action if they feel

my lessons violate those principles”). But Florida’s legal system exists to adjudicate

disputes just like these, not to rubberstamp student complaints. A complaining

student would have to prove with specificity what the educator espoused or

advocated in a lesson and would have to show that it violated a specific provision of

the Act. Cassanello has not alleged a single lesson he would teach that would open

him to a plausible student complaint under the Act or Rule. 4


      4
        Count VI alleges vagueness only as to the Rule and the Act’s educational
provisions, not the employment provisions. But even if the plaintiffs did allege that
the employment provisions are vague, such a claim would also fail, because nothing
in the complaint or in Hodo’s declaration even purports to show any vagueness in
those provisions of the Act.

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        Because none of the Plaintiffs have alleged an injury in fact for purposes of

the Count IV vagueness claim, that claim should also be entirely dismissed.

   V.       The Governor Is Not a Proper Defendant to Any of Plaintiffs’ Claims.

        For the above reasons, all of Plaintiffs’ claims should be dismissed in their

entirety. But even if one or more of these claims could go forward, the Governor is

not a proper defendant as to any of them. 5

        Under Ex Parte Young, 209 U.S. 123 (1908), “[a] state official is subject to

suit in his official capacity when his office imbues him with responsibility to enforce

the law or laws at issue in the suit.” Grizzle v. Kemp, 634 F.3d 1314, 1319 (11th Cir.

2011). This is an exception to the States’ Eleventh Amendment sovereign immunity,

which would otherwise bar suit against a State. Id. However, “a state officer, in

order to be an appropriate defendant, must, at a minimum, have some connection

with the enforcement of the provision at issue.” Osterback v. Scott, 782 F. App’x

856, 859 (11th Cir. 2019) (internal citations omitted); see also Support Working



        5
         Florida law grants the Attorney General authority to bring civil suits to
remedy “a pattern or practice of discrimination as defined by the laws of this state,”
or to bring suit because someone “[h]as been discriminated against as defined by the
laws of this state and such discrimination raises an issue of great public interest.”
FLA. STAT. § 760.021. Plaintiffs also lack standing to sue the Attorney General
because it is entirely speculative whether Plaintiffs either intend to engage in conduct
that would violate Florida’s discrimination laws, or that they would do so in the
carefully delineated circumstances that would trigger the Attorney General’s
authority to enforce those laws under Section 760.021.


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Animals, Inc. v. Governor of Fla., 8 F.4th 1198, 1201 (11th Cir. 2021) (“[W]here, as

here, a plaintiff has sued to enjoin a government official from enforcing a law, he

must show, at the very least, that the official has the authority to enforce the

particular provision that he has challenged, such that an injunction prohibiting

enforcement would be effectual.”). The Governor’s general executive authority to

enforce state laws and oversee the executive branch, standing alone, “is insufficient

to make him the proper party whenever a plaintiff seeks to challenge the

constitutionality of a law.” Harris v. Bush, 106 F. Supp. 2d 1272, 1276-77 (N.D. Fla.

2000) (collecting cases); see also Women’s Emergency Network v. Bush, 323 F.3d

937, 949 (11th Cir. 2003) (“A governor’s ‘general executive power’ is not a basis

for jurisdiction in most circumstances.”).

      Here, the parties directly charged with issuing regulations to implement the

education-related provisions of the Act and Rule are the state Board of Education

and the Board of Governors—not the Governor. FLA. STAT. § 1000.05(5) (governing

enforcement by state Board of Education and Board of Governors); see 2022 Fla.

Laws 72, § 2 (stating that subsection Section 1000.05(5) will be renumbered and

retained); FLA. STAT. § 1003.42(2); FLA. STAT. § 1006.31. Private citizens may also

enforce the Act through a direct action—but again, not the Governor. FLA. STAT.

§ 1000.05(8) (governing private enforcement); see 2022 Fla. Laws 72, § 2 (stating

that subsection 1000.05(8) will be renumbered and retained). The Governor also has



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no enforcement authority over the employer-related provisions of the Act, which are

enforceable only by the Attorney General and certain private citizens. FLA. STAT. §

760.021; FLA. STAT. § 760.11.

      Accordingly, the Governor must be dismissed entirely from this case.

   VI.     Plaintiffs’ Claims Should Also Be Dismissed Under FED. R. CIV. P.
           12(b)(6) for Failure To State a Claim.

      In addition to the myriad problems with Plaintiffs’ standing to advance their

claims, all of those claims also fail on the merits. As explained in Defendants’

Response     to   Plaintiffs’   Motion     for   a   Preliminary   Injunction,   filed

contemporaneously with this Motion, all of Plaintiffs’ claims fail as a matter of law.

The Act’s educational provisions regulate pure government speech, so the First

Amendment simply does not apply; and even if it did, (1) Florida’s decisions

concerning the content of curricular speech must prevail in disputes with individual

educators and (2) the State’s indisputably compelling interest in preventing its

educators from espousing the prohibited concepts, which the State condemns as

discriminatory and abhorrent, to Florida’s students would justify any burden the Act

may place on the Free Speech rights of individual teachers or students to advocate

or hear those ideas on the State’s dime.

      The challenge to the employment provisions also fails. The First Amendment

is not implicated by those provisions, either: everything an employer (or its paid

consultants) could say before the Act takes effect they can still say after, so no


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speech is restricted at all. All the Act regulates is the pure conduct of employers

requiring their employees to listen to certain speech against their will if they wish to

keep their jobs. And again, even if First Amendment rights were at stake, the State’s

compelling interest in stamping out discrimination on the basis of race and other

immutable characteristics in the workplace would amply justify this law.

      Accordingly, all of Plaintiffs’ claims fail to state a claim upon which relief

may be granted, and the Complaint must be dismissed under Rule 12(b)(6).

                                   CONCLUSION

      For the foregoing reasons, Plaintiffs’ claims should be dismissed in their

entirety under FED. R. CIV. P. 12(b)(1) and (6).




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Dated: June 1, 2022                        Respectfully Submitted,

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                     CERTIFICATE OF WORD COUNT

      Pursuant to Northern District of Florida Rule 7.1(F), the undersigned counsel

hereby certifies that the foregoing Defendant’s Memorandum of Law in Support of

Motion to Dismiss, including body, headings, quotations, and footnotes,

and excluding those portions exempt by Local Rule 7.1(F), contains 7,783

words as measured by Microsoft Office for Word 365.

                                                  s/     Charles J. Cooper
                                                         Charles J. Cooper
